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US. DISTRICT COURT

 

 

 

 

 

 

 

NORTHERN DISTRICT OF TEXAS |
FILED
IN THE UNITED STATES DISTRICT COURT SAN 27 2021 ,
FOR THE NORTHERN DISTRICT OF TEXAS CLERK, U.S. DISTRICT COUR
AMARILLO DIVISION Bye)
UNITED STATES OF AMERICA
v. NO. 2:21-CR-6-Z
STEVEN ANTHONY REINHART
FACTUAL RESUME

In support of Steven Anthony Reinhart’s plea of guilty to the offense in Count One
of the Information, Reinhart, the defendant, Frank Sellers, the defendant's attorney, and
the United States of America (the govertument) stipulate and agree to the following:

To prove the offense alleged in Count One of the Information, charging a violation
of 18 U.S.C. § 4, that is, Misprision of a Felony, the government must prove each of the
following elements beyond a reasonable doubt:'

Frrst. That a federal felony was committed, namely, wire fraud;
Second. That the defendant had knowledge of the commission of the felony;

Third. That the defendant failed to notify an authority as soon as possible.
An “authority” includes a federal judge or some other federal civil or

military authority, such as a federal grand jury, Secret Service, or
FBI agent; and

Fourth. That the defendant did an affirmative act, as charged, to conceal the
crime.

 

" Fifth Circuit Pattern Jury Instruction 2.06 (Sth Cir. 2019 ed.).

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STIPULATED FACTS
1, Steven Anthony Reinhart admits and agrees that beginning on or about a

date unknown and continuing until on or about July 27, 2018, he, having knowledge of
the actual commission of a felony cognizable by a court of the United States, to wit: wire
fraud, in violation of 18.U.S.C. § 1343, did conceal the same by providing auditors with
false sales dates on buyer orders, and did not as soon as possible make known the felony
to some judge or other person in civil and military authority under the United States, in
violation of Title 18, United States Code, Section 4. .

2. Reinhart anid his co-conspirators did knowingly snd with intent to defraud,
devise, intend to devise, or participate in a scheme to unlawfully enrich Reagor Dykes
Auto Group (RDAG), himself, and others, by deceiving Ford Motor Credit Company
(FMCC) and fraudulentty inducing it to send money to RDAG.

3.  1n 2014, Reinhart was hired by an RDAG entity, Reagor Auto Mall Ltd.

_ 4. _A“floor plan” is the term used to describe a loan taken out by an auto

5.  RDAG received funds from FMCC under its floor plan loan by means of
wire communications in interstate commerce. Likewise, RDAG requested floor pian loan
proceeds and frequently interacted with FMCC by means of wire communications in

6. Under its FMCC floor plan loan agreement, RDAG was required to repay
FMCC those monies loaned to it by FMCC within seven days of the sale of any vehicle

Steven Anthony -  Ralnhae ry
7. RDAG routinely and intentionally failed to make those payoffs within the
seven days required, which is commonly referred to as “selling vehicles out of trust.”
RDAG’s failure to timety make such payofis and its corresponding practice of selling
vehicles out of trust constituted a violation of the wire fraud statute, 18 U.S.C. § 1343.

8. Reinhart knew that RDAG was selling vehicles out of trust.

9.  Toconceal the fact that RDAG was selling vehicles out of trust, in violation
of 18 US.C. § 1343, Reinhart provided auditors, at the Lubbock Mitsubishi store, with
false sale dates on buyer orders to make FMCC and its auditor believe that such vehicles
were not being sold out of trust and that RDAG was complying with the requirement thet
it payoff such vehicles within the seven days required under the floor plan loan
agreements. Such active concealment constituted a violation of the misprision statute, 18
US.C. § 4.

10. Not only did Reinhart have knowledge of the wire fraud described above
(i.e., selling vehicles out of trust), but he also failed to notify an authority as soon as
possible of the fact that RDAG were selling vehicles out of trust.

11. Reinhart agrees that he committed all the essential elements of the offense.
This factual resume is not intended to be a complete acoounting of all the facts and events
related to the offense charged in this case. The limited purpose of this statement of facts
is to demonstrate that a factual besis exists to support the defendant’s guilty plea to Count
One of the Information.
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AGREED TO AND STIPULATED on this_26day of aver, _,2021.

Si

Steven Anthony Reinhart
Defendant

Ld—

Frank Sellers
Attormey for Defendant

Steven Anthony Reinhart
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PRERAK SHAH
ACTING UNITED STATES ATTORNEY

bo

JogHUK FRAUSTO

Assistant United States Attorney
Attorney-in-Charge

Texas State Bar Number 24074228

500 South Taylor Street, Suite 300
Amarillo, Texas 79101-2446
Telephone: 806-324-2356

Facsimile: 806-324-2399

E-mail: joshua. frausto@usdoj.gov
